  Case 18-30792        Doc 70    Filed 08/29/22 Entered 08/29/22 15:22:34          Desc Main
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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In Re:                                        )
                                              )             Chapter 13
JULIUS L. JONES and                           )
TANESHA S. JONES,                             )
                                              )
                                              )             Case No. 18-bk-30792
                                              )
         Debtor.                              )
                                              )             Honorable LaShonda A. Hunt

                                     NOTICE OF MOTION

         To: Chapter 13 Trustee (via ECF)
             All Creditors Listed on the Attached Serviced List (via U.S. Mail)

        PLEASE TAKE NOTICE that on September 16, 2022, at 10:15 a.m., I will appear
before the Honorable LaShonda A. Hunt or any Judge sitting in her place, and present Debtors’
Motion for Authorization to Sell Real Property, a copy of which is attached.

       This Motion will be presented and heard electronically using Zoom for Government.
No personal appearance in court is necessary or permitted. To appear and be heard on the motion,
you must do the following:

      To appear by video, use this link: https://www.zoomgov.com/. Enter the meeting ID 161
165 5696. Enter the passcode 7490911.

       To appear by telephone, call Zoom for Government at (669) 254-5252 or (646) 828-7666.
Then enter the meeting ID and password.

         When prompted identify yourself by stating your full name.

      To reach Judge Hunts’ web page go to www.ilnb.uscourts.gov and click on the tab for
Judges.

        If you object to this motion and want it called on the presentment date above, you must
file a Notice of Objection no later than two (2) business days before that date. If a Notice of
Objection is timely filed, the Motion will be called on the presentment date. If no Notice of
Objection is timely filed, the court may grant the motion in advance without hearing.
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                                                            JULIUS S. JONES AND
                                                            TANESHA S.JONES

                                                            By: Mohammed O. Badwan

                                                            Mohammed O. Badwan, Esq.
                                                            Counsel for Debtor
                                                            Sulaiman Law Group, Ltd.
                                                            2500 S. Highland Ave., Suite 200
                                                            Lombard, IL 60148
                                                            Phone (630) 575-8180
                                                            mbadwan@sulaimanlaw.com




                                CERTIFICATE OF SERVICE

       The undersigned certifies that on August 29, 2022, he caused a true and correct copy of the

foregoing Notice of Motion and the attached Motion to be served upon the Chapter 13 Trustee (via

ECF) and all creditors (via U.S. Mail).


                                                                   /s/ Mohammed O. Badwan
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                                                                              Bankruptcy Live System15:22:34 Desc Main
                                                Document             Page 3 of 10
                                          18-30792 Julius L Jones and Tanesha S Jones
                       Case type: bk Chapter: 13 Asset: Yes Vol: v Honorable Judge: LaShonda A Hunt
                       Date filed: 10/31/2018 Date of last filing: 06/12/2022 Plan confirmed: 05/03/2019



                                                                      Creditors


                                      Acs/access Grp
                                      Acs/Education Services                            (27266160)
                                      PO Box 7051                                       (cr)
                                      Utica, NY 13504
                                      Acs/access Grp
                                                                                        (27266161)
                                      501 Bleecker St.
                                                                                        (cr)
                                      Utica, NY 13501
                                      BBR Investments
                                                                                        (27266162)
                                      100 N. Center St.
                                                                                        (cr)
                                      Newton Falls, OH 44444
                                      BBR Investments LLC
                                                                                        (27349643)
                                      100 North Center Street
                                                                                        (cr)
                                      Newton Falls, OH 44444
                                      BBR Investments LLC
                                                                                        (27349554)
                                      100 North Center Street
                                                                                        (cr)
                                      Newton Falls, OH 44444
                                      Cavalry SPV I, LLC
                                      as assignee of Synchrony Bank
                                                                                        (27270701)
                                      Ashley Home Stores
                                                                                        (cr)
                                      500 Summit Lake Drive, Ste 400
                                      Valhalla, NY 10595
                                      Cavalry SPV I, LLC
                                                                                        (27266163)
                                      PO Box 27288
                                                                                        (cr)
                                      Tempe, AZ 85282
                                      CCI/Contract Callers Inc
                                                                                        (27266165)
                                      501 Greene St Ste 302
                                                                                        (cr)
                                      Augusta, GA 30901
                                      CCI/Contract Callers Inc
                                      Attn: Bankruptcy Dept                             (27266164)
                                      501 Greene St Ste 302                             (cr)
                                      Augusta, GA 30901
                                      Chase Mortgage
                                                                                        (27266167)
                                      Po Box 24696
                                                                                        (cr)
                                      Columbus, OH 43224

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                                                                       Bankruptcy Live System15:22:34   Desc Main
                                Chase Mortgage Document       Page     4  of  10         (27266166)
                                3415 Vision Dr                                           (cr)
                                Columbus, OH 43219
                                      Citibank / Sears
                                                                                       (27266170)
                                      Po Box 6283
                                                                                       (cr)
                                      Sioux Falls, SD 57117
                                      Citibank / Sears
                                      Citicorp Credit Services/Attn: Centraliz         (27266169)
                                      Po Box 790040                                    (cr)
                                      Saint Louis, MO 63179
                                      Citibank / Sears
                                      Citicorp Credit Services                         (27266168)
                                      Po Box 790040                                    (cr)
                                      Saint Louis, MO 63179
                                      Citibank/The Home Depot
                                      Citicorp Cr Srvs/Centralized Bankruptcy          (27266171)
                                      Po Box 790040                                    (cr)
                                      S Louis, MO 63129
                                      Citibank/The Home Depot
                                                                                       (27266172)
                                      Po Box 6497
                                                                                       (cr)
                                      Sioux Falls, SD 57117
                                      Comenity Capital Bank
                                      c/o Weinstien & Riley PS                         (27266173)
                                      Po Box 3978                                      (cr)
                                      Seattle, WA 98124

                                      Department Stores National Bank
                                      c/o Quantum3 Group LLC                           (27435025)
                                      PO Box 657                                       (cr)
                                      Kirkland, WA 98083-0657
                                      Dept Store National Bank
                                      Attn: Bankruptcy                                 (27266174)
                                      Po Box 8053                                      (cr)
                                      Mason, OH 45040

                                      Discover Bank
                                      Discover Products Inc                            (27278514)
                                      PO Box 3025                                      (cr)
                                      New Albany, OH 43054-3025

                                      Discover Financial
                                                                                       (27266176)
                                      Po Box 15316
                                                                                       (cr)
                                      Wilmington, DE 19850
                                      Discover Financial                               (27266175)
                                      Po Box 3025                                      (cr)
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                                New Albany, OH 43054          Page     5  of  10

                                      Home Depot Loan Services
                                                                                       (27266177)
                                      1797 NE Expressway #100
                                                                                       (cr)
                                      Atlanta, GA 30329
                                      Illinois Department of Revenue
                                      Bankruptcy Section                               (27266178)
                                      Po Box 64338                                     (cr)
                                      Chicago, IL 60664-0338

                                      Jefferson Capital Systems
                                                                                       (27266179)
                                      Po Box 772813
                                                                                       (cr)
                                      Chicago, IL 60677
                                      JPMorgan Chase Bank, National Association
                                      Chase Records Center
                                                                                (27426366)
                                      Attn: Correspondence Mail
                                                                                (cr)
                                      700 Kansas Lane
                                      Monroe LA 71203

                                      Mercedes-Benz Financial
                                                                                       (27266180)
                                      Po Box 685
                                                                                       (cr)
                                      Roanole, TX 76262

                                      Mercedes-Benz Financial
                                                                                       (27266181)
                                      Po Box 961
                                                                                       (cr)
                                      Roanoke, TX 76262
                                      Mercedes-Benz Financial Services USA LLC
                                      c/o BK Servicing, LLC                            (27782315)
                                      PO Box 131265                                    (cr)
                                      Roseville, MN 55113-0011

                                      Navient
                                                                                       (27266183)
                                      Po Box 3229
                                                                                       (cr)
                                      Wilmington, DE 19804
                                      Navient
                                                                                       (27266184)
                                      Po Box 61047
                                                                                       (cr)
                                      Harrisburg, PA 17106
                                      Navient
                                      Attn: Claims Dept                                (27266182)
                                      Po Box 9500                                      (cr)
                                      Wilkes- Barr, PA 18773
                                      Navient Solutions, LLC. on behalf of
                                      Educational Credit Management Corporatio         (27334510)
                                      PO BOX 16408                                     (cr)
                                      St. Paul, MN 55116-0408

                                      Nelnet on behalf of ECMC                         (27472114)

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                                                                          Bankruptcy Live System15:22:34   Desc Main
                                                Document
                                Education Credit Management Corp Page     6  of  10         (cr)
                                PO Box 16408
                                St. Paul, MN 55116-0478

                                      Nordstrom Fsb
                                                                                         (27266186)
                                      13531 E. Caley Ave.
                                                                                         (cr)
                                      Englewood, CO 80111

                                      Nordstrom Fsb
                                      Correspondence                                     (27266185)
                                      Po Box 6555                                        (cr)
                                      Englewood, CO 80155

                                      Onemain Financial/Citifinancial
                                      6801 Colwell Blvd.                                 (27266187)
                                      Ntsb-2320                                          (cr)
                                      Irving, TX 75039

                                      Onemain Financial/Citifinancial
                                                                                         (27266188)
                                      Po Box 499
                                                                                         (cr)
                                      Hanover, MD 21076

                                      PayPal Credit
                                                                                         (27266189)
                                      Po Box 105658
                                                                                         (cr)
                                      Atlanta, GA 30348

                                      Portfolio Recovery Associates
                                                                                         (27266190)
                                      Po box 12914
                                                                                         (cr)
                                      Norfolk, VA 23541
                                      Portfolio Recovery Associates, LLC
                                      c/o The Home Depot Consumer                        (27429407)
                                      POB 41067                                          (cr)
                                      Norfolk VA 23541

                                      Portfolio Recovery Associates, LLC
                                      c/o Onemain Financial                              (27433583)
                                      POB 41067                                          (cr)
                                      Norfolk VA 23541

                                      Portfolio Recovery Associates, LLC
                                      c/o Sears Mastercard                               (27429405)
                                      POB 41067                                          (cr)
                                      Norfolk VA 23541

                                      Quantum3 Group
                                                                                         (27266191)
                                      PO Box 657
                                                                                         (cr)
                                      Kirkland, WA 98083

                                      Regions Bk/greensky Cr
                                                                                         (27266192)
                                      1797 NE Expressway
                                                                                         (cr)
                                      Atlanta, GA 30329

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                                Sallie Mae     Document       Page     7  of  10         (27428540)
                                P.O Box 3319                                             (cr)
                                Wilmington, DE 19804
                                      Syncb/Ashley Homestore
                                                                                                       (27266194)
                                      c/o Po Box 965036
                                                                                                       (cr)
                                      Orlando, FL 32896

                                      Syncb/Ashley Homestore
                                                                                                       (27266193)
                                      Po Box 965064
                                                                                                       (cr)
                                      Orlando, FL 32896

                                      SYNCHRONY BANK
                                      c/o Weinstein & Riley, PS                                        (27433812)
                                      2001 Western Ave., Ste 400                                       (cr)
                                      Seattle, WA 98121

                                      SYNCHRONY BANK
                                      c/o Weinstein & Riley, PS                                        (27433799)
                                      2001 Western Ave., Ste 400                                       (cr)
                                      Seattle, WA 98121

                                      U.S. Bank National Association
                                      Bankruptcy Department                                            (27425641)
                                      PO Box 5229                                                      (cr)
                                      Cincinnati, Ohio 45201-5229
                                      Us Bank
                                      Attn: Bankruptcy                                                 (27266195)
                                      Po Box 5229                                                      (cr)
                                      Cincinnati, OH 45201

                                      Us Bank
                                                                                                       (27266196)
                                      Po Box 5227
                                                                                                       (cr)
                                      Cincinnati, OH 45201

                                      Visa Dept Store National Bank
                                                                                                       (27266197)
                                      Po Box 8218
                                                                                                       (cr)
                                      Mason, OH 45040


                                                              PACER Service Center
                                                                   Transaction Receipt
                                                                      08/29/2022 15:06:02
                                       PACER Login: sulaimanlaw Client Code:
                                                          Creditor       Search             18-30792 Creditor Type:
                                       Description:
                                                          List           Criteria:          cr
                                       Billable
                                                          2              Cost:              0.20
                                       Pages:




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                        UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

In Re:                                        )
                                              )              Chapter 13
JULIUS L. JONES and                           )
TANESHA S. JONES,                             )
                                              )
                                              )              Case No. 18-bk-30792
                                              )
         Debtors.                             )
                                              )              Honorable LaShonda A. Hunt

      DEBTORS’ MOTION FOR AUTHORIZATION TO SELL REAL PROPERTY

         NOW COME Julius L. Jones and Tanesha S. Jones (“Debtors”), by and through their

undersigned counsel, moving this Honorable Court for an order authorizing the Debtors to sell

real property, and in support thereof, stating as follows:

         1.     The Debtors filed the instant Chapter 13 on October 31, 2018.

         2.     Debtors’ Modified Chapter 13 Plan was confirmed on May 3, 2019 (“Confirmed

Plan”). [Dkt. 45]

         3.     The Debtors’ principal residence is located at 6 Kingsbrooke Ct., Bolingbrook, IL

60440 (“Property”).

         4.     The Property is encumbered by a first mortgage lien (“mortgage loan”) in favor of

JPMorgan Chase Bank, N.A. (“Chase”).

         5.     At the time the Debtors filed their bankruptcy case, Debtors were current on the

mortgage loan and there were no arrears owed to Chase.

         6.     Accordingly, the Confirmed Plan did not provide for any arrears payments to

Chase.

         7.     The Debtors wish to sell the Property.
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        8.     The Debtors have secured a real estate contract for the sale of the Property

(“Contract”). See attached Exhibit A, a true and accurate copy of the Contract.

        9.     The contemplated sale price for the Property is $390,000. Id. at pg. 1.

        10.    The current balance on the mortgage loan is $192,200.00. See attached Exhibit B,

a true and correct copy of the contemplated Closing Statement.

        11.    Accordingly, the contemplated sale price would satisfy the mortgage lien in its

entirety.

        12.    Moreover, the Debtors will be receiving approximately $165,889.09 after all liens

and closing costs are paid (“Net Proceeds”).

        13.    The Debtors intend on using a portion of the Net Proceeds to pay off their

bankruptcy case, which is approaching its 4th year.

        14.    The closing for the sale of the Property is currently set for September 20, 2022.

        15.    Given that the Property is property of the bankruptcy estate, Debtors need court

approval to sell the Property.

        16.    The sale of the Property is in the best of interests of the creditors as the proceeds

will be used to pay the creditors.

        17.    In light of the depreciating real estate market, time is of the essence as the Debtors

will be irreparably harmed if they are unable to sell the Property on September 20, 2022.

        18.    Given that the closing is set for September 20, 2022, Debtors respectfully request

that the Court find that there is good cause to (1) excuse the shortened notice (18 days as

opposed to 21 days required by Rule 2002(a)(2); and (2) not stay the Order authorizing sale for

14 days after entry as prescribed by 11 U.S.C. §363(h).
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          19.      Based on the foregoing, there is good cause for the Court to grant the relief sought

herein.

          WHEREFORE, the Debtors respectfully request that this Honorable Court enter an

Order providing the following relief:

   A. Authorizing the Debtors to sell the real property located at 6 Kingsbrooke Ct.,

          Bolingbrook, IL 60440;

   B. Authorizing the proceeds of the sale to be disbursed to Julius L. Jones and Tanesha S.

          Jones;

   C. Excusing the shortened notice;

   D. Waiving the 14 day stay of the Order Authorizing Sale; and

   E. For any and all other relief this Court deems fair and proper.

Dated: August 29, 2022                                          Respectfully Submitted,

                                                                /s/ Mohammed O. Badwan
                                                                Mohammed O. Badwan
                                                                Counsel for Debtors
                                                                Sulaiman Law Group, Ltd.
                                                                2500 S. Highland Ave., Ste. 200
                                                                Lombard, IL 60148
                                                                Phone (630) 575-8180
                                                                Fax: (630) 575-8188
